Docusign Envelope ID: 38422045-F91E-46DB-AF84-D0D2DF03CB21                  FTXCreditor (https://ftxcreditor.com)
                           Case 22-11068-JTD           Doc 27217    Filed 10/24/24 Page 1 of 4

     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF DELAWARE


       In re:                                                  Chapter 11
       FTX Trading Ltd. (d/b/a “FTX”)
                                                                   22-11068
       debtorentity                                            caseID
       Debtors                                                 (Jointly Administered)
                          TRANSFER OF CLAIM OTHER THAN FOR SECURITY


     A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
     hereby gives evidence and notice pursuant to Rule 3001(e)(2) of the Federal Rules of Bankruptcy
     Procedure of the transfer, other than for security, of the claim referenced in this evidence and notice
       Name of Transferor:                                     Name of Transferee:
                      ame                                      FTXCREDITOR, LLC
       Name and Current Address of Transferor:                 Name and Address where notices and payments
                                                               to transferee should be sent:
       Address:                                                Address:
                                                               FTXCREDITOR, LLC
                                                               Michael Bottjer


                                                               1509 Bent Ave.


                                                               Cheyenne, WY 82001,


                                                               claims@ftxcreditor.com


       Claim No./Schedule             Creditor Name            Amount                    Debtor

       Kroll Schedule                                          Described on Schedule F
                                      transferorname                                     debtorentity
                                                                                         FTX Trading Ltd.
       claimNo                                                                            (d/b/a “FTX”) (Case
        221106805785008                                                                   No. 22-11068)


       krollScheduleID
       Debtor Schedule F No:                                   Described on Schedule F    FTX Trading Ltd.
      05880851                                                                            (d/b/a “FTX”) (Case
       schedulefnumber                t                                                  debtorentity
                                                                                          No. 22-11068)


       claimConfirmationNumber

                                                                                           Transfer Agreement
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     I declare under penalty of perjury that the information provided in this notice is true and correct to the
     best of my knowledge and belief.



     By:
     Transferee / Transferee’s Agent

     Date: 10/23/2024
           transferdate




                                                                                          Transfer Agreement
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                                                 Identity of Transferor

     Transferee has in its possession an Evidence of Transfer signed by the Transferor.

     To protect the identity of the Transferor, Transferee has not disclosed the Transferor’s name or address,
     and has not attached the signed Evidence of Transfer to this Notice of Transfer of Claim.

     Upon written request, Transferee is prepared to provide a copy of the signed Evidence of Transfer to the
     Bankruptcy Court, the Debtors, and appropriate professionals.




                                                                                          Transfer Agreement
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                                EVIDENCE OF TRANSFER OF CLAIM

     TO: Clerk, United States Bankruptcy Court, District of Delaware, for good and valuable consideration,
     the receipt and sufficiency of which are hereby acknowledged, creditor trans
     hereby certifies that it has unconditionally and irrevocably sold, transferred and assigned to FTXCRED-
     ITOR, LLC, its successors and assigns, all right, title and interest in and to the claim(s) identified
     below, against FTX Trading LTD et al:

       Schedule F Claim #:                               05880851

                                                         schedulefnumber
       Claim Amount:                                     as detailed on Schedule F

     Seller hereby waives any notice or hearing requirements imposed by Rule 3001 of the Federal Rules of
     Bankruptcy Procedure, and stipulates that an order may be entered recognizing this Evidence of Transfer
     of Claim as an unconditional assignment and Buyer as the valid owner of the claim.

     You are hereby requested to make all future payments and distributions, and to give all notices and other
     communications in respect of the claim, to Buyer.


              10/23/2024
     Date:


       BUYER:
       FTXCREDITOR, LLC




       Name: Michael Bottjer                                        Name:               e
       Email: claims@ftxcreditor.com                                Email: t




                                                                                             Transfer Agreement
